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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ABC CORPORATION,

        Plaintiff,                                             Civil Action No.: 1:20-cv-03837

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                            COMPLAINT

        Plaintiff, ABC CORPORATION (“ABC” or “Plaintiff”), hereby files this Complaint

against the Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”), and for its Complaint hereby alleges as follows: 1

                                  JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq. 28 U.S.C. § 1338(a)–(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under the

laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are so

related to the federal claims that they form part of the same case or controversy and derive from a

common nucleus of operative facts.




1
  Since it is unknown when Plaintiff’s forthcoming Motion for a Temporary Restraining Order will be ruled
on, Plaintiff’s name has been removed to prevent Defendants from getting advanced notice. Plaintiff is
listed on the trademark certificates filed under seal as Exhibit 1 and Plaintiff will file an Amended
Complaint under seal that identifies Plaintiff and provides additional allegations.
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          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant domain names and/or the online

marketplace accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”) 2. Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s Trademarks. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer shipping

to the United States, including Illinois, accept payment in U.S. dollars and, on information and

belief, has sold products bearing counterfeit versions of Plaintiff’s federally registered Trademarks

to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging

in interstate commerce, and has wrongfully caused Plaintiff substantial injury in the State of

Illinois.

          3.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

Judicial District.

                                          INTRODUCTION

          4.      This action has been filed by Plaintiff to combat online counterfeiters who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection with



2
    The e-commerce store URLs are listed on Schedule A hereto.




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Plaintiff’s federally registered Trademarks. The registrations are valid, subsisting, unrevoked,

uncancelled, and incontestable pursuant to 15 U.S.C. § 1065. The registrations for the Trademarks

constitute prima facie evidence of validity and of Plaintiff’s exclusive right to use the Trademarks

pursuant to 15 U.S.C. § 1057(b). A genuine and authentic copy of the U.S. federal Trademark

registration certificates for the federally registered Trademarks is attached as Exhibit 1

(“Plaintiff’s Trademarks”).

        5.      The rise of online retailing, coupled with the ability of e-commerce sites to hide

their identities, has made it nearly impossible for policing actions to be undertaken. ABC has

availed itself of takedown requests to remove infringing products, but these efforts have proved to

be an unavailing game of whack-a-mole against the mass counterfeiting that is occurring over the

Internet. The aggregated effect of the mass counterfeiting that is taking place has overwhelmed

Plaintiff and its ability to police its rights against the hundreds of anonymous defendants which

are selling illegal counterfeits at prices below an original.

        6.      Defendants operate a cooperative counterfeiting network using fake eCommerce

storefronts designed to appear to be selling authorized products. To be able to offer the counterfeit

products at a price substantially below the cost of original, while still being able to turn a profit after

absorbing the cost of manufacturing, advertising and shipping requires an economy of scale only

achievable through a cooperative effort throughout the supply chain. As Homeland Security’s recent

report confirms, counterfeiters act in concert through coordinated supply chains and distribution

networks to unfairly compete with legitimate brand owners while generating huge profits for the

illegal counterfeiting network:

        Historically, many counterfeits were distributed through swap meets and individual
        sellers located on street corners. Today, counterfeits are being trafficked
        through vast e-commerce supply chains in concert with marketing, sales, and
        distribution networks. The ability of e-commerce platforms to aggregate



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       information and reduce transportation and search costs for consumers provides a
       big advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural geographical
       sales area.
                                                ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to
       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.
                                                ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.

See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
goods), at 10, 19 (emphasis added) attached hereto as Exhibit 2.


       7.      The Defendant Aliases share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence,

or series of transactions or occurrences. Defendants use aliases to avoid liability by going to great

lengths to conceal both their identities as well as the full scope and interworking of their illegal

network. Despite deterrents such as takedowns and other measures, the use of aliases enables

counterfeiters to stymie authorities:

       The scale of counterfeit activity online is evidenced as well by the significant efforts
       e-commerce platforms themselves have had to undertake. A major e-commerce
       platform reports that its proactive efforts prevented over 1 million suspected bad
       actors from publishing a single product for sale through its platform and blocked
       over 3 billion suspected counterfeit listings from being published to their
       marketplace. Despite efforts such as these, private sector actions have not been



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        sufficient to prevent the importation and sale of a wide variety and large volume of
        counterfeit and pirated goods to the American public.
                                                 ...
        A counterfeiter seeking to distribute fake products will typically set up one or more
        accounts on online third-party marketplaces. The ability to rapidly proliferate third-
        party online marketplaces greatly complicates enforcement efforts, especially for
        intellectual property rights holders. Rapid proliferation also allows counterfeiters
        to hop from one profile to the next even if the original site is taken down or blocked.
        On these sites, online counterfeiters can misrepresent products by posting pictures
        of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                 ...
        Not only can counterfeiters set up their virtual storefronts quickly and easily, but
        they can also set up new virtual storefronts when their existing storefronts are shut
        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors.

Id. at 5, 11, 12.

        8.      eCommerce giant Alibaba has also made public its efforts to control counterfeiting

on its platform. It formed a special task force that worked in conjunction with Chinese authorities

for a boots-on-the ground effort in China to stamp out counterfeiters. In describing the counterfeiting

networks it uncovered, Alibaba expressed its frustration in dealing with “vendors, affiliated dealers

and factories” that rely upon fictitious identities that enable counterfeiting rings to play whack-a-

mole                                          with                                         authorities:




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See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017),
available at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 3)

       9.      Plaintiff has been and continues to be irreparably damaged through consumer

confusion, dilution, loss of control over the reputation and goodwill enjoyed by Plaintiff’s

Trademarks, as well as the quality of goods bearing Plaintiff’s Trademarks. The rise of eCommerce

as a method of supplying goods to the public exposes brand holders and creators that make

significant investments in their products to significant harm from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organization for
       Economic Cooperation and Development (OECD) report, which details a 154
       percent increase in counterfeits traded internationally — from $200 billion in 2005
       to $509 billion in 2016. Similar information collected by the U.S. Department of
       Homeland Security (DHS) between 2000 and 2018 shows that seizures of
       infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
       year to 33,810.
                                                 …

       The rise in consumer use of third-party marketplaces significantly increases the
       risks and uncertainty for U.S. producers when creating new products. It is no longer


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        enough for a small business to develop a product with significant local consumer
        demand and then use that revenue to grow the business regionally, nationally, and
        internationally with the brand protection efforts expanding in step. Instead, with the
        international scope of e-commerce platforms, once a small business exposes itself
        to the benefits of placing products online — which creates a geographic scope far
        greater than its more limited brand protection efforts can handle — it begins to face
        increased foreign infringement threat.

                                                  ...

        Moreover, as costs to enter the online market have come down, such market entry
        is happening earlier and earlier in the product cycle, further enhancing risk. If a new
        product is a success, counterfeiters will attempt, often immediately, to outcompete
        the original seller with lower-cost counterfeit and pirated versions while avoiding
        the initial investment into research and design.
                                                  ...

        Counterfeiters have taken full advantage of the aura of authenticity and trust that
        online platforms provide. While e-commerce has supported the launch of thousands
        of legitimate businesses, their models have also enabled counterfeiters to easily
        establish attractive “store-fronts” to compete with legitimate businesses.

        See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020,

(Exhibit 2) at 4, 8, 11.

        10.         Not only are the creators and brand holders harmed, the public is harmed as well:

        The rapid growth of e-commerce has revolutionized the way goods are bought and
        sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
        our communities and homes. Illicit goods trafficked to American consumers by e-
        commerce platforms and online third-party marketplaces threaten public health and
        safety, as well as national security. This illicit activity impacts American innovation
        and erodes the competitiveness of U.S. manufacturers and workers.
        The President’s historic memorandum provides a much warranted and long overdue
        call to action in the U.S. Government’s fight against a massive form of illicit trade
        that is inflicting significant harm on American consumers and businesses. This
        illicit trade must be stopped in its tracks.

Id. at 3, 4. (Underlining in original).

        11.     Plaintiff’s investigation shows that the telltale signs of an illegal counterfeiting ring

is present in the instant action. For example, Schedule A shows the use of store names by the

Defendant Aliases that employ no normal business nomenclature and, instead, have the appearance



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of being made up, or if a company name that appears to be legitimate is used, online research shows

that there is no known address for the company. Thus, the Defendant Aliases are using fake online

storefronts designed to appear to be selling genuine products, while selling inferior imitations. The

Defendant Aliases also share unique identifiers, such as design elements and similarities of the

counterfeit products offered for sale, establishing a logical relationship between them and suggesting

that Defendants’ illegal operations arise out of the same transaction, occurrence, or series of

transactions or occurrences. Defendants attempt to avoid liability by going to great lengths to conceal

both their identities and the full scope and interworking of their illegal counterfeiting operation.

Plaintiff is forced to file this action to combat the Defendants’ counterfeiting of Plaintiff’s registered

Trademarks, as well as to protect unknowing consumers from purchasing unauthorized Plaintiff’s

products over the Internet.

        12.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and this Judicial District, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

Judicial District. In addition, each defendant has offered to sell and ship infringing products into

this Judicial District.

        13.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and this Judicial District, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and this

Judicial District. In addition, each defendant has offered to sell and ship infringing products into

this Judicial District.




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                                        THE PLAINTIFF

        14.    Plaintiff sells products, which prominently display the internationally recognized

and federally registered Plaintiff’s Trademarks (collectively, the “Plaintiff’s Products”) within the

Northern District of Illinois. Plaintiff’s Products have become enormously popular and even

iconic, driven by Plaintiff’s arduous quality standards and innovative design. Among the

purchasing public, genuine Plaintiff’s Products are instantly recognizable as such. In the United

States and around the world, Plaintiff’s brand has come to symbolize high quality, and Plaintiff’s

Products are among the most recognizable of their kind

        15.    Defendants’ sales of Counterfeit Products in violation of Plaintiff’s intellectual

property rights are irreparably damaging Plaintiff.

        16.    Plaintiff is engaged in the business of manufacturing, distributing and retailing

quality merchandise including within the Northern District of Illinois District (collectively, the

“Plaintiff Products”) under the Federally registered Plaintiff’s Trademarks. Defendants’ sales of

Counterfeit Products in violation of Plaintiff’s intellectual property rights are irreparably damaging

Plaintiff.

        17.    Plaintiff’s brand, symbolized by Plaintiff’s Trademarks, are a recognized symbol

of high-quality merchandise. Plaintiff’s Trademarks are distinctive and identifies the merchandise

as goods from Plaintiff. The registration for Plaintiff’s Trademarks constitutes prima facie

evidence of their validity and of Plaintiff’s exclusive right to use Plaintiff’s Trademarks pursuant

to 15 U.S.C. § 1057 (b).

        18.    Plaintiff’s Trademarks have been continuously used and never abandoned.

        19.    Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting Plaintiff’s Trademarks. As a result, products bearing




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Plaintiff’s Trademarks are widely recognized and exclusively associated by consumers, the public,

and the trade as being products sourced from Plaintiff.

                                       THE DEFENDANTS

        20.      Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within Illinois and in this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores. Each Defendant targets the United States, including

Illinois, and has offered to sell and, on information and belief, has sold and continues to sell

counterfeit Plaintiff’s Products to consumers within the United States, including Illinois and in this

Judicial District.

                        THE DEFENDANTS’ UNLAWFUL CONDUCT

        21.     The success of Plaintiff’s brand has resulted in its significant counterfeiting.

Defendants conduct their illegal operations through fully interactive commercial websites hosted

on various e-commerce sites, such as Amazon, eBay, Wish, Ali Express, DHGate, etc. (“Infringing

Websites” or “Infringing Webstores”). Each Defendant targets consumers in the United States,

including the State of Illinois, and has offered to sell and, on information and belief, has sold and

continues to sell counterfeit products that violate Plaintiff’s intellectual property rights

(“Counterfeit Products”) to consumers within the United States, including the State of Illinois.

        22.     The Defendant Aliases intentionally conceal their identities and the full scope of

their counterfeiting operations in an effort to deter Plaintiff from learning Defendants’ true

identities and the exact interworking of Defendants’ illegal counterfeiting operations. Through

their operation of the Infringing Webstores, Defendants are directly and personally contributing




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to, inducing and engaging in the sale of Counterfeit Products as alleged, often times as partners,

co-conspirators and/or suppliers. Upon information and belief, Defendants are an interrelated

group of counterfeiters working in active concert to knowingly and willfully manufacture, import,

distribute, offer for sale, and sell Counterfeit Products.

       23.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of Plaintiff’s Trademarks, including its

exclusive right to use and license such intellectual property and the goodwill associated therewith.

       24.     Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of Defendant

Aliases. Other Defendant domain names often use privacy services that conceal the owners’

identity and contact information. Upon information and belief, Defendants regularly create new

websites and online marketplace accounts on various platforms using the identities listed in

Schedule A to the Complaint, as well as other unknown fictitious names and addresses. Such

Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their massive

counterfeiting operation, and to avoid being shut down.

       25.     The counterfeit Plaintiff’s Products for sale in the Defendant Aliases bear

similarities and indicia of being related to one another, suggesting that the counterfeit Plaintiff’s

Products were manufactured by and come from a common source and that, upon information and

belief, Defendants are interrelated. The Defendant Aliases also include other notable common

features, including use of the same domain name registration patterns, unique shopping cart

platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or




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similarly priced items and volume sales discounts, similar hosting services, similar name servers,

and the use of the same text and images.

       26.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

domain names or online marketplace accounts under new aliases once they receive notice of a

lawsuit. Counterfeiters also often move website hosting to rogue servers located outside the United

States once notice of a lawsuit is received. Rogue servers are notorious for ignoring takedown

demands sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection. A 2012 U.S.

Customs and Border Protection report on seizure statistics indicated that the Internet has fueled

“explosive growth” in the number of small packages of counterfeit goods shipped through the mail

and express carriers.

       27.     Further, counterfeiters such as Defendants, typically operate multiple credit card

merchant accounts and third-party accounts, such as PayPal, Inc. ("PayPal") accounts, behind

layers of payment gateways so that they can continue operation in spite of Plaintiff’s enforcement

efforts. Upon information and belief, Defendants maintain off-shore bank accounts and regularly

move funds from their PayPal accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that

offshore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based

bank accounts outside the jurisdiction of this Court.

       28.     Upon information and belief, Defendants also deceive unknowing consumers by

using Plaintiff’s Trademarks without authorization within the content, text, and/or meta tags of




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their websites to attract various search engines crawling the Internet looking for websites relevant

to consumer searches for Plaintiff’s Products. Additionally, upon information and belief,

Defendants use other unauthorized search engine optimization (SEO) tactics and social media

spamming so that the Defendant Aliases listings show up at or near the top of relevant search

results and misdirect consumers searching for genuine Plaintiff’s Products. Further, Defendants

utilize similar illegitimate SEO tactics to propel new domain names to the top of search results

after others are shut down.

       29.     Defendants’ use of the Trademarks on or in connection with the advertising,

marketing, distribution, offering for sale and sale of the Counterfeit Products is likely to cause and

has caused confusion, mistake and deception by and among consumers and is irreparably harming

Plaintiff. Defendants have manufactured, imported, distributed, offered for sale and sold

Counterfeit Products using Plaintiff’s Trademarks and continue to do so.

       30.     Defendants, without authorization or license from Plaintiff, knowingly and

willfully used and continue to use Plaintiff’s Trademarks in connection with the advertisement,

offer for sale and sale of the Counterfeit Products, through, inter alia, the Internet. The Counterfeit

Products are not genuine Plaintiff’s Products. The Plaintiff did not manufacture, inspect or package

the Counterfeit Products and did not approve the Counterfeit Products for sale or distribution. The

Defendant Aliases offer shipping to the United States, including Illinois, and, on information and

belief, each Defendant has sold Counterfeit Products into the United States, including Illinois.

       31.     Defendants also deceive unknowing consumers by using Plaintiff’s Trademarks

without authorization within the content, text, and/or meta tags of the listings on Infringing

Webstores in order to attract various search engines crawling the Internet looking for websites




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relevant to consumer searches for Plaintiff’s Products and in consumer product searches within the

Webstores.

       32.     Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling Counterfeit Goods that infringe upon Plaintiff’s Trademarks unless

preliminarily and permanently enjoined.

       33.     Defendants’ use of Plaintiff’s trademarks in connection with the advertising,

distribution, offering for sale, and sale of counterfeit Plaintiff’s Products, including the sale of

counterfeit Plaintiff’s Products into Illinois, is likely to cause and has caused confusion, mistake,

and deception by and among consumers and is irreparably harming Plaintiff.


                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       34.     Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

       35.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered Plaintiff’s Trademarks in

connection with the sale, offering for sale, distribution, and/or advertising of infringing goods.

Plaintiff’s Trademarks are highly distinctive marks. Consumers have come to expect the highest

quality from Plaintiff’s products provided under Plaintiff’s Trademarks.

       36.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

Plaintiff’s Trademarks without Plaintiff’s permission.

       37.     Plaintiff is the exclusive owner of Plaintiff’s Trademarks. Plaintiff’s United States

Registrations for Plaintiff’s Trademarks (Exhibit 1) are in full force and effect. Upon information




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and belief, Defendants have knowledge of Plaintiff’s rights in Plaintiff’s Trademarks, and are

willfully infringing and intentionally using counterfeits of Plaintiff’s Trademarks. Defendants’

willful, intentional and unauthorized use of Plaintiff’s Trademarks is likely to cause and is causing

confusion, mistake, and deception as to the origin and quality of the counterfeit goods among the

general public.

        38.       Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

        39.       Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to the reputation and the goodwill associated with

the well-known Plaintiff’s Trademarks.

        40.       The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of counterfeit Plaintiff’s Products.


                                     COUNT II
                    FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        41.       Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

        42.       Defendants’ promotion, marketing, offering for sale, and sale of counterfeit Plaintiff’s

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiff or the origin, sponsorship,

or approval of Defendants’ counterfeit Plaintiff’s Products by Plaintiff.




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       43.     By using Plaintiff’s Trademarks in connection with the sale of counterfeit

Plaintiff’s Products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit Plaintiff’s Products.

       44.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the counterfeit Plaintiff’s Products to the general public is a willful violation

of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       45.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to the reputation and the goodwill associated with

the Plaintiff’s Trademarks.


                               COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815    CS § 510, et seq.)

       46.      Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

       47.     Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their counterfeit Plaintiff’s Products as those of Plaintiff, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

Plaintiff’s Products, representing that their products have Plaintiff’s approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

       48.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.




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       49.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.


                                          COUNT IV
                                      CIVIL CONSPIRACY

       50.     Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

       51.     Plaintiff is informed and believes and thereon alleges that Defendants knowingly

and voluntarily entered into a scheme and agreement to engage in a combination of unlawful acts

and misconduct including, without limitation, engaging in collaborated efforts to distribute,

market, advertise, ship, offer for sale, or sell fake Plaintiff’s Products. This is a violation of the

Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       52.     The intent, purpose and objective of the conspiracy and the underlying combination

of unlawful acts and misconduct committed by the Defendants was to undermine Plaintiff’s brand

and Plaintiff’s business by unfairly competing against Plaintiff as described above.

       53.     The Defendants each understood and accepted the foregoing scheme and agreed to

do their respective part, to further accomplish the foregoing intent, purpose and objective. Thus,

by entering into the conspiracy, each Defendant has deliberately, willfully and maliciously

permitted, encouraged, and/or induced all of the foregoing unlawful acts and misconduct.

       54.     As a direct and proximate cause of the unlawful acts and misconduct undertaken

by each Defendant in furtherance of the conspiracy, Plaintiff has sustained substantial harm, and

unless each Defendant is restrained and enjoined, will continue to sustain severe, immediate and

irreparable harm, damage and injury for which there is no adequate remedy at law.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily preliminarily, and permanently enjoined and restrained from:

       a. using Plaintiff’s Trademarks or any reproductions, counterfeit copies, or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine Plaintiff’s

           product or is not authorized by Plaintiff to be sold in connection with Plaintiff’s

           Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Plaintiff’s product;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           counterfeit Plaintiff’s Products are those sold under the authorization, control, or

           supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with

           Plaintiff;

       d. further infringing Plaintiff’s Trademarks and damaging Plaintiff’s goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;

       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for

           sale, and which bear Plaintiff’s Trademarks, or any reproductions, counterfeit copies, or

           colorable imitations thereof;




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       g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           online marketplace accounts, the Defendant domain names, or any other domain name

           or online marketplace account that is being used to sell or is the means by which

           Defendants could continue to sell counterfeit Plaintiff’s Products; and

       h. operating and/or hosting websites at the Defendant domain names and any other domain

           names registered or operated by Defendants that are involved with the distribution,

           marketing, advertising, offering for sale, or sale of any product bearing Plaintiff’s

           Trademarks or any reproduction, counterfeit copy or colorable imitation thereof that is not

           a genuine Plaintiff’s product or not authorized by Plaintiff to be sold in connection with

           Plaintiff’s Trademarks; and

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph 1,

a through h, above;

       3) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as, but not limited to,

eBay, ContextLogic, DHGate, and Alibaba Group Holding Ltd., Alipay.com Co., Ltd. and any

related Alibaba entities (collectively, “Alibaba”), social media platforms, Facebook, YouTube,

LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts for the

Defendant domain names, and domain name registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit Plaintiff’s Products using Plaintiff’s Trademarks,

           including any accounts associated with the Defendants listed on Schedule A;



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       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit Plaintiff’s Products using Plaintiff’s

           Trademarks; and

       c. take all steps necessary to prevent links to the Defendant domain names identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant domain names from any search index; and

       4) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of Plaintiff’s Trademarks be increased by a sum not exceeding three times the amount

thereof as provided by 15 U.S.C. § 1117;

       5) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of Plaintiff’s Trademarks;

       6) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       7) Award any and all other relief that this Court deems just and proper.


DATED: June 30, 2020                                Respectfully submitted,

                                                    /s/ Keith A. Vogt
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                                                    ATTORNEY FOR PLAINTIFF




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